                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF WISCONSIN


LORENZO D. TOMBS,

                          Plaintiff,

                  v.                                                   Case No. 19-C-1164

JODI FIELDS, et al.,

                          Defendants.


       ORDER DENYING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
               AND ADDRESSING MISCELLANEOUS MATTERS


           Plaintiff Lorenzo D. Tombs, who is representing himself, filed a complaint under 42 U.S.C.

§ 1983. The court entered a screening order allowing the case to proceed against Dr. Bekx, Jodi

Fields, Monica Gagnon, Keith Johnson, and Angelica Rowin-Fox. Dkt. No. 18. On July 10, 2020,

these defendants filed a motion for summary judgment. Dkt. No. 41. The court subsequently

granted in part Plaintiff’s motions for extension of time, thereby extending the time for Plaintiff to

respond to Defendants’ summary judgment motion until October 15, 2020. Dkt. No. 54. On

August 25, 2020, Plaintiff filed a motion for summary judgment. Dkt. No. 56. Defendants filed

a response in which they argue that the court should deny Plaintiff’s motion as untimely. Dkt. No.

61 at 1.

           The deadline for filing dispositive motions was July 10, 2020. Dkt. Nos. 21, 27. Plaintiff

did not request, and the court did not grant, an extension of time to this deadline. Thus, Plaintiff’s

motion for summary judgment is untimely and the court will deny it on that basis. Of course, this

does not mean that the court cannot grant summary judgment in favor of Plaintiff if the undisputed

facts so warrant. Fed. R. Civ. P. 56(f)(1).




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       Plaintiff’s summary judgment brief says that it also serves as a brief in opposition to

Defendants’ motion for summary judgment. Dkt. No. 57 at 1. While Defendants state that they

did not interpret Plaintiff’s filing as a response to their summary judgment motion because it is not

captioned as such and because he did not respond to their proposed findings of fact (Dkt. No. 61

at 1), Plaintiff’s deadline to respond to Defendants’ summary judgment motion was October 15,

2020, and he has not filed any other response. To the extent Plaintiff’s brief addresses the issues

raised by Defendants, the court will consider it a brief in opposition, though Defendants need not

respond to Plaintiff’s proposed findings of fact. Defendants may file a reply as to their own motion

on or before November 17, 2020, but need not do so if, as they contend, Plaintiff’s brief in support

of his own motion does not respond to the arguments set forth in their own motion. Since Plaintiff

did not file a response to Defendants’ proposed findings of fact, those facts are deemed admitted.

Civil L. R. 56(b)(4).

       Lastly, Plaintiff did not sign the declaration he submitted along with his response to

Defendants’ summary judgment motion. Dkt. No. 58. Plaintiff must submit a “signature page”

for his declaration or the court will strike it from the record. See Fed. R. Civ. P. 11(a). To submit

a signature page, Plaintiff should file a document that he has signed and that says it is to be filed

along with his declaration filed August 25, 2020.

       THEREFORE, IT IS ORDERED that Plaintiff’s motion for summary judgment (Dkt.

No. 56) is DENIED.

       IT IS FURTHER ORDERED that Defendants may, but need not, file a reply on or before

November 17, 2020.




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       IT IS FURTHER ORDERED that Plaintiff shall submit a signature page for his

declaration (Dkt. No. 58) by November 9, 2020, or the court will strike the declaration.

       Dated at Green Bay, Wisconsin this 21st day of October, 2020.

                                                    s/ William C. Griesbach
                                                    William C. Griesbach
                                                    United States District Judge




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